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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF OREGON


JESSICA GESSELE, ASHLEY                        3:10-CV-00960-BR
GESSELE, NICOLE GESSELE,
TRICIA TETRAULT, and                           OPINION AND ORDER
CHRISTINA LUCHAU, on behalf
of themselves and all others
similarly situated,

           Plaintiffs,

v.

JACK IN THE BOX, INC., a
Corporation of Delaware,

          Defendant.


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BROWN, Judge.

        This matter comes before the Court on Defendant's Bill of

Costs (#299) and Plaintiffs' Bill of Costs (#302) .                     For the

reasons that follow, the Court DENIES Defendant's and Plaintiffs'

Cost Bills.



                                    BACKGROUND

        On August 13, 2010, Plaintiffs Jessica Gessele, Ashley

Gessele, Nicole Gessele, and Tricia Tetrault on behalf of all

those similarly situated filed a putative class-action Complaint

in this Court against Defendant Jack in the Box, Inc., for

violation of the minimum-wage and overtime provisions of the Fair

Labor Standards Act (FLSA), 29 U.S.C.               §§   201, et seq., and

various Oregon wage-and-hour laws.              Specifically, Plaintiffs

alleged Defendant (1) failed to pay minimum wages in violation of

the FLSA,     (2) failed to pay overtime wages in violation of the

FLSA,    (3) failed to pay minimum wages in violation of Oregon

Revised Statute     §   653.025,   (4) failed to pay overtime wages in

violation of Oregon Revised Statute             §   653.261,     (5) failed to pay

all wages due after termination of Plaintiffs' employment in

violation of Oregon Revised Statute             §   652.140,     (6) deducted

unauthorized amounts from Plaintiffs' paychecks in violation of

Oregon Revised Statute       §   652.610,   (7) failed to issue wages in

the form required by Oregon Revised Statute                 §   652.110, and


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 (8) failed to pay all wages when due as required by Oregon

Revised Statute   §   652.120.

      On December 15, 2010, Defendant moved to dismiss Plaintiffs'

First through Fifth Claims.      On January 31, 2011, Magistrate

Judge Janice M. Stewart issued Findings and Recommendation in

which she recommended the Court grant Defendant's Motion to

Dismiss.

     On April 11, 2011, Senior District Judge Ancer Haggerty

issued an Order adopting the Findings and Recommendation,

granting Defendant's Motion to Dismiss, and granting Plaintiffs

leave to file an Amended Complaint.

     On May 16, 2011, Plaintiffs filed a First Amended Complaint

in which they asserted the same claims as in their initial

Complaint but added Christina Luchau as a Plaintiff and included

additional facts to support their claims.

     On May 31, 2011, Defendant filed an Answer to Plaintiffs'

First Amended Complaint in which it asserted, among other things,

a statute-of-limitations defense as follows:           "Plaintiffs' claims

are barred in whole, or in part, by applicable statutes of

limitations.''

     On July 18, 2011, Plaintiffs filed a Motion to Strike

Defendant's Affirmative Defenses.       In particular, Plaintiffs

moved to strike Defendant's statute-of-limitations defense on the

ground that Defendant did not "identify which claims are


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allegedly subject to this affirmative defense, nor in what way

they are supposedly barred. . . .       Plaintiffs therefore cannot

substantially respond to nor pursue discovery on this issue."

     On August 30, 2011, Magistrate Judge Stewart heard oral

argument on Plaintiffs' Motion to Strike.

     On September 2, 2011, Magistrate Judge Stewart issued an

Opinion in which she concluded, among other things, that

Defendant's statute-of-limitations defense was "merely a

precautionary defense without a sufficient factual basis."

Magistrate Judge Stewart, therefore, granted Plaintiffs' Motion

to Strike as to Defendant's statute-of-limitations defense

"without prejudice to defendant's right to amend its answer."

     On December 14, 2011, Magistrate Judge Stewart held a status

conference in which she advised the parties that she was going to

enter an order tolling the statute of limitations "for absent

collective class members" beginning on December 14, 2011, and

continuing "until class certification."         Hearing Tr. 54-55

(#148).   On December 14, 2011, Magistrate Judge Stewart issued an

Order (#59) tolling the statute of limitations for "absent

putative class members."

     On March 20, 2012, Plaintiffs filed a Second Amended

Complaint in which Plaintiffs allege Defendant (1) failed to pay

minimum wages in violation of the FLSA,        (2) failed to pay

overtime wages in violation of the FLSA,        (3) failed to pay


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minimum wages in violation of Oregon Revised Statute                §   653.025,

(4) failed to pay overtime wages in violation of Oregon Revised

Statute   §   653.261,    (5) failed to pay all wages due after

termination of Plaintiffs' employment in violation of Oregon

Revised Statute     §    652.140,   (6) deducted unauthorized amounts from

Plaintiffs' paychecks in violation of Oregon Revised Statute

§   652.610, and (7) failed to pay all wages when due as required

by Oregon Revised Statute § 652.120.

      On April 12, 2012, Defendant filed an Answer to Plaintiffs'

Second Amended Complaint in which it asserted Affirmative

Defenses that again included the statute of limitations.                   As in

Defendant's Answer to Plaintiffs' First Amended Complaint,

Defendant alleged only that "Plaintiffs' claims are barred in

whole, or in part, by applicable statutes of limitations."

      On May 22; 2012, Magistrate Judge Stewart heard oral

argument on various Motions pending at that time.                At the hearing

Plaintiffs made an oral Motion to Dismiss Defendant's Affirmative

Defenses.      The Magistrate Judge granted Plaintiffs' Motion and

dismissed Defendant's statute-of-limitations defense without

prejudice and with leave to amend.            The Magistrate Judge noted:

              I think what is going to happen in this case              is at
              some point, if the defendant decides that it              has,
              for example, a valid statute of limitations
              defense with a particular class member with
              respect to a particular claim, they're going              to
              have to seek leave of court to amend and add              that
              affirmative defense with specific factual
              allegations to go forward.

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Hearing Tr. 7 (#185).        The Magistrate Judge specifically denied

Plaintiffs' request to dismiss with prejudice the statute-of-

limitations defense against the named Plaintiffs.

     On August 13, 2012, Plaintiffs filed a Motion to Certify

Oregon Rule 23(b) (3) Classes and Alternative Motions to Either

Certify Hybrid FLSA Classes or Certify FLSA 216(b) Collectives.

     On October 22, 2012, Defendant filed a Motion to

Amend/Correct Answer in which it requested leave to file an

Amended Answer to Plaintiffs' Second Amended Complaint that,

among other things, did not include a statute-of-limitations

Affirmative Defense.

     On December 13, 2012, Plaintiffs filed a Third Motion for

Leave to File Amended Complaint.

     On December 20, 2012, Magistrate Judge Stewart issued an

Order granting Defendant's Motion to Amend/Correct Answer.                   On

December 27, 2012, Defendant filed its Amended Answer to

Plaintiffs' Second Amended Complaint.         Defendant's Amended Answer

did not include a statute-of-limitations Affirmative Defense.

     On January 7, 2013, Magistrate Judge Stewart denied

Plaintiffs' Third Motion for Leave to File Amended Complaint on

the grounds of undue delay and prejudice.          Specifically, the

Magistrate Judge noted:

          Given the amended pleadings, extensive discovery
          and motion practice to date, including plaintiffs'
          pending motion for class certification, this case
          is too far advanced to add two new defendants

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           (including a representative of a proposed
           defendant class), many new claims unrelated to the
           pending claims for wage and hour violations,
           additional putative class members, and over 50 new
           proposed classes and subclasses.

Order (#157) .

     On January 28, 2013, Magistrate Judge Stewart issued

Findings and Recommendation in which she recommended granting in

part and denying in part Plaintiffs' Motion to Certify and

specifically recommended conditional certification of Plaintiffs'

proposed FLSA Workers Benefit Fund and Shoe Collectives and

Subcollectives under§ 216(b) and certification of Plaintiffs'

proposed Rule 23(b) (3) Oregon Workers Benefit Fund and Shoe

Classes and Subclasses.

     On April 1, 2013, Judge Haggerty entered an Order adopting

the January 28, 2013, Findings and Recommendation; conditionally

certifying Plaintiffs' proposed FLSA Workers' Benefit Fund and

Shoe Collectives and Subcollectives under§ 216(b); and

certifying Plaintiffs' proposed Rule 23(b) (3) Oregon Workers

Benefit Fund and Shoe Classes and Subclasses.

     On May 7, 2013, Defendant filed a Motion for Leave to Amend

Answer in which Defendant sought to include a statute-of-

limitations defense.    Specifically, Defendant asserted the named

Plaintiffs failed to file written consent forms that are a

prerequisite to commencing a collective action under§§ 216(b)

and 256 of the FLSA and the FLSA's three-year limitation period


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expired on March 31, 2013, as to the named Plaintiffs.              According

to Defendant, this was the first time Defendant had a specific

factual basis to support its statute-of-limitations defense.

     Also on May 7, 2013, Defendant filed a Motion for Summary

Judgment as to all of Plaintiffs' claims on the grounds that

Plaintiffs' FLSA claims are barred by the statute of limitations

and that this Court may not exercise supplemental jurisdiction

over Plaintiffs' state-law claims.

     On May 31, 2013, Plaintiffs filed a Response to Defendant's

Motion for Leave to Amend Answer in which they objected to

Defendant's Motion on numerous grounds.

     On June 18, 2013, Magistrate Judge Stewart issued an Opinion

and Order in which she granted Defendant's Motion for Leave to

Amend Answer.   On July 1, 2013, Plaintiffs filed Objections to

the Opinion and Order.

     On August 27, 2013, this Court issued an Order affirming

Magistrate Judge Stewart's Opinion and Order and granted

Defendant's Motion for Leave to Amend Answer.

     On October 16, 2013, the Court also entered an Order

granting Plaintiffs additional time to conduct discovery related

to the statute-of-limitations issues before filing a response to

Defendant's Motion for Summary Judgment.         Because it was not

clear to the Court how much additional time Plaintiffs were

requesting or what "reasonable parameters the Court should set


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for the additional discovery," the Court directed counsel to

confer and to submit no later than October 28, 2013, a joint

statement setting forth their respective positions regarding the

time necessary to complete the additional discovery as well as a

proposed schedule to complete the briefing on Defendant's Motion

for Summary Judgment.

     On October 28, 2013, Defendant filed a Motion for Stay of

Certain Proceedings and for a Status Conference instead of filing

a joint statement.    In its Motion Defendant sought a stay of

proceedings as to Plaintiffs' Motions that were filed after

Defendant's Motion (#174) for Summary Judgment; i.e., a stay as

to Plaintiffs' Motion (#206) to Appoint Class Administrator and

to Authorize Dissemination of Notice to Class and Collective

Members, Plaintiffs' Motion (#212) for Spoliation Sanctions Re

FLSA Shoe Claims and Defenses, and Plaintiffs' Alternative Motion

(#214) for Partial Summary Judgment on FLSA Shoe Claims and

Defenses.

     On November 7, 2013, the Court held a status conference with

counsel for the purpose of (1) considering and resolving the

amount of time that should be permitted for additional discovery

related to Defendant's pending Motion (#174) for Summary

Judgment;   (2) considering Defendant's Motion (#217) for Stay of

Certain proceedings; and (3) managing the resolution of

Plaintiffs' Motions ## 206, 212, and 214.


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     On November 7, 2013, the Court also issued an Order

 (1) setting January 3, 2014, as the date for Plaintiffs to file

their response to Defendant's Motion for Summary Judgment and

January 20, 2014, as the date for Defendant to file its Reply;

(2) scheduling oral argument on the parties' various motions to

be heard on January 30, 2014; and (3) advising the parties that

they would not be permitted to file any additional motions

without advance leave of Court.

     On November 26, 2013, the parties filed a Joint Statement of

Stipulated Facts in which they noted:

     Jack in the Box asserts that the named Plaintiffs' FLSA
     statutes of limitations expired on the following dates:

          a. Jessica Gessele: November 23, 2011 (2012 for
          willful damages claims)
          b. Ashley Gessele: February 8, 2011 (2012 for willful
          damages claims)
          c. Nicole Gessele: April 1, 2011 (2012 for willful
          damages claims)
          d. Tricia Tetrault: July 22, 2010 (2011 for willful
          damages claims)
          e. Christina Luchau: March 31, 2012 (2013 for willful
          damages claims) [. J

     Jack in the Box received letters from Mr. Egan on behalf of
     Plaintiffs asserting various wage claims and citing state
     and federal statutes on various dates including on May 3,
     2010 for Jessica Gessele and on July 26, 2010 for other
     plaintiffs.

     Jack 'in the Box's in-house counsel Raymond Pepper and James
     Stubblefield had at all relevant times the responsible
     knowledge within Jack in the Box of the reasons for the
     decision to file the motion for summary judgment at DKT
     #175, including the potential availability of an FLSA
     defense based on a lack of filed consents.

Joint Statement (#230) at 1.

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     On November 27, 2013, the parties advised the Court of a

discovery dispute related to defense counsel's knowledge of the

availability of the FLSA statute-of-limitations defense.               On

December 12, 2013, the Court held a hearing on this particular

discovery issue and also entered an Order (1) setting

December 27, 2013, as the date for Defendant's responses to

interrogatories and briefing on any objections to the

interrogatories;    (2) setting January 6, 2014, as the date for

Plaintiffs to file any response; (3) scheduling a further

discovery conference on January 10, 2014; (4) extending

Plaintiffs' deadline to respond to Defendant's Motion for Summary

Judgment (#174) to January 17, 2014, and Defendant's reply to

February 3, 2014; and (5) striking oral argument set on

January 30, 2014.

     On January 6, 2014, Plaintiffs filed a Motion to Compel

Discovery and/or Strike Affirmative Defense in which Plaintiffs

sought an order compelling production of discovery from Defendant

and/or striking Defendant's affirmative defense of waiver on the

grounds of Defendant's "(non)responses and its (non)briefing of

its objections."

     On January 15, 2014, the Court heard oral argument on

Plaintiffs' Motion to Compel.      On that same day the Court

issued an Order denying Plaintiffs' Motion to Compel; setting

January 21, 2014, as the date for Plaintiffs to respond to


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Defendant's Motion for Summary Judgment (#174) and January 28,

2014, as the date for Defendant to file its reply; and setting

oral argument on February 10, 2014, regarding Defendant's Motion.

     On February 10, 2014, the Court heard oral argument on

Defendant's Motion for Summary Judgment.

     On March 19, 2014, the Court issued an Opinion and Order

granting Defendant's Motion for Summary Judgment, dismissing with

prejudice Plaintiffs' FLSA claims as time-barred and dismissing

without prejudice Plaintiffs' state-law claims.             On March 20,

2014, the Court entered a Judgment dismissing Plaintiff's FLSA

claims with prejudice and dismissing Plaintiffs' state-law claims

without prejudice.

     On April 16, 2014, Plaintiffs filed a Motion to Amend or

Correct the Court's February 19, 2014, Opinion and Order.

     On May 15, 2014, the Court entered an Order in which it

granted Plaintiffs' Motion to Amend.       Also on May 15, 2014, the

Court issued an Amended Opinion and Order in which it granted

Defendant's Motion for Summary Judgment on the ground that this

Court did not acquire jurisdiction over Plaintiffs' federal

claims (because they were time-barred) and dismissed Plaintiffs'

claims without prejudice.     Finally on May 15, 2014, the Court

entered an Amended Judgment dismissing all of Plaintiffs' claims

without prejudice.

     On May 23, 2014, Defendant filed a Bill of Costs.             On


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May 29, 2014, Plaintiffs filed a Bill of Costs.

     On June 5, 2014, Plaintiffs filed an action in Multnomah

County Circuit Court against Defendant asserting the same state

and federal claims that Plaintiffs asserted in their Second

Amended Complaint in this action. 1

     On June 30, 2014, the Court took the parties' Cost Bills in

this matter under advisement.



                                 DISCUSSION

     Plaintiffs and Defendant each seek costs pursuant to 28

U.S.C.   §   1919, which provides:    "Whenever an action or suit is

dismissed in any district court              . for want of jurisdiction,

such court may order the payment of just costs."              The Ninth

Circuit has held     §   1919 rather than Federal Rule of Civil

Procedure 54(d) governs an award of costs when the underlying

claim has been dismissed for lack of jurisdiction.               Miles v.

State of Ca.,    320 F.3d 986, 988 (9th Cir. 2003).           "Unlike Rule

54(d),   §   1919 is permissive, allows the district court to award

'just costs,' and does not turn on which party is the 'prevailing

party."'     Id. at 988 n.2.



     1
       On July 9, 2014, Defendant removed the newly-filed state
case from Multnomah County Circuit Court to this Court, and that
removed matter is pending as Case No. 14-CV-1092-BR. On August
8, 2014, Plaintiffs filed an Amended Motion to Remand (that) Case
to State Court, and that Motion remains pending the parties'
briefing and the Court's consideration of its merits.
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     As noted, both parties in this matter assert the Court

should exercise its discretion and award them their costs.                   When

a matter is dismissed for lack of jurisdiction, however, courts

that have exercised their discretion to award costs typically

have awarded costs to the defendant.         Plaintiffs cite two cases

in which courts in this district have awarded costs to the

plaintiff when a matter has been dismissed for lack of

jurisdiction.   Those cases, however, are distinguishable.               In

Humbarger v. Mortgage Electronic Registration Systems, Inc., the

plaintiff filed an action to stop the nonjudicial foreclosure of

his home.   After the plaintiff filed his complaint, the defendant

elected to rescind the nonjudicial foreclosure proceedings and to

pursue "other alternatives."       No. 3:11-cv-1202-PA, 2012 WL

6649370, at *3 (D. Or. Dec. 19, 2012).         Based on that particular

set of circumstances, the court concluded the plaintiff was

entitled to his "just costs" under      §   1919.    Id.     Similarly, in

Murphy v. First Horizon Home Loan the plaintiffs filed an action

seeking relief from a nonjudicial foreclosure that had resulted

in the sale of their home.       The defendant voluntarily rescinded

the foreclosure sale.       The court, relying on Humbarger, awarded

the plaintiffs their costs under § 1919 and noted the plaintiffs

"correctly identified a serious deficiency in the nonjudicial

foreclosure process that resulted in the sale of their home

         That Defendants chose to [rescind the foreclosure sale]


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should not force the [plaintiffs) to bear the costs of bringing

this action."   No. 3:12-cv-000818-SI, 2013 WL 1295575, at *6 (D.

Or. Mar. 26, 2013).

     The Court notes that throughout the extensive litigation

history of Case No. 3:10-cv-00960-BR, both Plaintiffs and

Defendant have won and lost various arguments related to numerous

issues including the question of pleading Defendant's statute-of-

limitations defense, class certification, jurisdiction, and

federal jurisdiction.       The Humbarger and Murphy courts' analysis

and conclusions, therefore, are not particularly enlightening.

     According to Plaintiffs, an award of costs to Defendant is

premature because Plaintiffs have filed a second action asserting

the same claims against the same Defendant in the presently

removed state case and the costs incurred by Defendant are for

depositions and transcripts that will be equally useful to

litigation of the state-court action.         Plaintiffs' assertion,

however, cuts both ways.      The costs incurred by Plaintiffs also

are for transcripts that are likely to be helpful to Plaintiffs

in the state-court litigation.

     Because Plaintiffs filed the second action in state court

with the same claims and same parties as in this matter,

Defendant has removed that action to this Court, and Plaintiffs

seek to have that matter remanded, it is clear that litigation

between these parties involving these claims is likely to


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continue for some time.      Although the Ninth Circuit has held the

Court is not required to defer an award of costs under              §   1919

when a parallel state case is proceeding (see Otay Land Co. v.

United Enterprises, Inc.,     672 F.3d 1152, 1160 (9th Cir. 2012)),

this Court concludes in the circumstances of this case that it

would be fair, efficient, and effective to delay any award of

costs to the parties involved in these matters until the last

related matter is fully concluded.         Accordingly, in the exercise

of its discretion the Court declines to award costs to either

party at this time.



                               CONCLUSION

     For these reasons, the Court DENIES Defendant's Bill of

Costs (#299) and DENIES Plaintiffs' Bill of Costs (#302) .

     IT IS SO ORDERED.

     DATED this 13th day of August, 2014.




                                       ANNA J. BROWN
                                       United States District Judge




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